Case 24-30465-5-wak Doc 14 Filed 06/07/24 Entered 06/08/24 00:21:01   Desc
                   Imaged Certificate of Notice Page 1 of 2
            Case 24-30465-5-wak Doc 14 Filed 06/07/24 Entered 06/08/24 00:21:01                                                                  Desc
                               Imaged Certificate of Notice Page 2 of 2
                                                              United States Bankruptcy Court
                                                              Northern District of New York
In re:                                                                                                                 Case No. 24-30465-wak
Thomas William Pritchard                                                                                               Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0206-5                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 05, 2024                                               Form ID: pdf904                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 07, 2024:
Recip ID                 Recipient Name and Address
db                     + Thomas William Pritchard, 5107 Old Barn Road, Clay, NY 13041-8955

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 07, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 5, 2024 at the address(es) listed below:
Name                               Email Address
U.S. Trustee
                                   USTPRegion02.UT.ECF@usdoj.gov

William J. Leberman-Trustee
                                   wleberman@lebermanlaw.com kbarber@lebermanlaw.com;NY97@ecfcbis.com


TOTAL: 2
